                Case:
ILND 450 (Rev. 10/13)    1:17-cv-02838
                      Judgment in a Civil Action   Document #: 33 Filed: 12/12/17 Page 1 of 1 PageID #:113

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS
                                                   EASTERN DIVISION

James Morgan,

Plaintiff(s),
                                                                    Case No. 17 cv 2838
v.                                                                  Judge Susan E. Cox

Autozone Parts, Inc.,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


               other: Judgment is entered in favor of the Defendant, Autozone Parts, Inc and against the
Plaintiff, James Morgan. Defendant's motion to dismiss is granted.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Susan E. Cox on a motion to dismiss.



Date: 12/12/2017                                                 Thomas G. Bruton, Clerk of Court

                                                                 Nakita Perdue , Deputy Clerk
